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  Message


  From:         Darline Jean [darlinejean@google.com]
  Sent:         5/3/2022 3:13:37 AM
  To:           Nash Islam [nashislam@google.com]
  cc:           Dan Taylor [dantaylor@google.com]
  Subject:      Re: early heads up: BC Deal for Top Gaming Publisher Houses



  Nash,
  Thanks for the heads up. At Dan's offsite, I will not be able to attend the meeting, however, I'm supportive of
  your opinion here.
  DJ

  On Mon, May 2, 2022 at 8:25 PM Nash Islam <nashislam@google.com> wrote:
   Hi Darline & Dan,

   Our largest on-platform pub CrazyLabs is being approached by AppLovin & ironSource with competing deals
   that have much higher deal value so the deal team has booked a GPX next week. The ask is
                         and will require BC review after GPX (ref preso).

    We're concerned that even the deals we won through Code Purple (for example Zynga & BitMango) will be
  _ approached again within the next year with similarly enticing incentives. To get ahead, we're planning to
  _ uplevel the CrazyLab ask to a pre-approval for our Top 10 Gaming Publishing Houses. PM is drafting this
    strategic framework to help validate this approach

   This email is just an early FYI. No action needed for now but I'll prob request both of your support soon!

  _ @Darline Jean I've added you to the pre-briefing with Duke for Wed AM (optional) and we're also working
    with ABPs to book a meeting including Duke, Scott Sheffer & Ron Zember from Flnance to pre-brief this
    week ahead of GPX (also optional)

   I'll share more details as it comes together and please let me know if any Qs!

   Thanks,
   Nash



    Nash isiam 4 Head of Global Strategy, Seli-side Apps & Emerging Inventory | nashislam@google.com   |   650-880-
   4093




  a
                                      Darline Jean
                                      Managing Director | Global Publisher Platforms
                                      darlineleand@aoogie corn
                                      917.844.3526




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